                                      Case No. 23-2564

                                               In the

        United States Court of Appeals
                                               for the

                                    Eighth Circuit

        UNITED STATES OF AMERICA EX REL. ELIZABETH D. HOLT,
                          Relator-Appellant,
                                                 v.
MEDICARE MEDICAL ADVISORS, INC.; CAREFREE SOLUTIONS USA INC.;
 CAREFREE INSURANCE INC.; AETNA INCORPORATED; HUMANA, INC.;
           UNITEDHEALTHCARE INSURANCE COMPANY,
                     Defendants-Appellees.
                          _______________________________________
 On Appeal from the United States District Court for the Western District of Missouri (Kansas City),
        Case No. 4:18-cv-00860-DGK ∙ Honorable David Gregory Kays, District Judge

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                           SUMMARY OF THE CASE

      Relator Holt’s complaint in this qui tam action alleges violations of the False

Claims Act (“FCA”) involving the abuse of the Medicare Advantage program by

several insurance companies and their agent, MMA. To market Medicare

Advantage Plans (“MA Plans”), insurers must promise to adhere to a federal

regulatory scheme, which limits the tactics that may be used to enroll beneficiaries.

The insurers contract directly with the government, and they are legally

responsible for the actions of any agents retained to sell MA Plans on their behalf.

They have financial incentives to enroll as many beneficiaries as possible.

      Against that backdrop, MMA violated numerous federal regulations—

including cheating on the tests that certified individual agents to sell MA Plans.

The insurers failed in their mandatory oversight of MMA, even after being given

detailed information about MMA’s misconduct. As a result of Defendants’ fraud

inducing the government to sanction their participation in Medicare Advantage, all

claims for reimbursement were false claims.

      The district court granted the Defendants’ motions to dismiss, holding that

the Defendants did not make “claims” for payment to the government and that any

violations were immaterial. Relator Holt contests those rulings on this appeal.

      Based on the complexity of the program and regulations at issue, oral

argument likely would assist the Court. Relator requests twenty minutes.



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      Relator Elizabeth Holt is not a corporate entity, nor is the United States, on

whose behalf claims were brought.




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                       JURISDICTIONAL STATEMENT

      a) The district court had subject-matter jurisdiction because this case arose

under federal law and, therefore, presented a federal question. Relator Elizabeth

Holt filed this qui tam action on behalf of the United States, alleging that all

Defendants violated the False Claims Act, 31 U.S.C. § 3729, et seq.

      b) This Court has appellate jurisdiction under 28 U.S.C. § 1291, based on

Relator’s direct appeal from the grant of all Defendants’ motions to dismiss by the

U.S. District Court for the Western District of Missouri. (Add. 1; App. 410; R.

Doc. 101.) Thus, Relator/Appellant is appealing from a final judgment of a district

court within the Eighth Circuit. (Add. 18; App. 427; R. Doc. 102.)

      c) The district court entered judgment on August 23, 2022. (Add. 18; App.

427; R. Doc. 102.) On September 20, 2022, within 28 days from judgment, Relator

filed a motion to alter or amend the judgment under Rule 59(e). (App. 428, R. Doc.

103; App. 431, R. Doc. 104.) The district court denied Relator’s Rule 59 motion on

June 2, 2023. (Add. 22; App. 469; R. Doc. 109.) Relator timely filed her Notice of

Appeal on June 30, 2023, pursuant to Fed. R. App. P. 4(a)(1)(A) and 4(a)(4)(A)(v).

(App. 473, R. Doc. 110.)

      d) The district court’s Order and subsequent judgment disposed of all claims

against all parties. (Add. 22; App. 410; R. Doc. 101; App. 427; R. Doc. 102.)




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                              STATEMENT OF ISSUES

       1.    The Carrier Defendants1 all submitted applications to the government

to obtain funds for their Medicare Advantage plans. MMA2 submitted claims to the

carriers for commissions to be paid by the government, based on enrollments in

MA Plans. Did the district court err in holding that no Defendant made a claim for

payment to the government?

    • United States ex rel. Miller v. Weston Educational, Inc., 840 F.3d 494 (8th
      Cir. 2016)

    • Allison Engine Co. v. U.S. ex rel. Sanders, 553 U.S. 662 (2008)

    • United States ex rel. Hendow v. University of Phoenix, 461 F.3d 1166 (9th
      Cir. 2006)

    • United States ex rel. Taylor v. Boyko, 39 F.4th 177 (4th Cir. 2022)

    • 31 U.S.C. § 3729(a)-(c)

       2.    MMA submitted thousands of applications for payment based on

Medicare Advantage enrollees who were signed up through improper means, by

agents who were not properly certified. The government has extensive regulations

to prevent fraud in the Medicare Advantage program, which insurance carriers and




1
  The “Carrier Defendants” include Aetna Inc., Human Inc., and United Healthcare
Ins. Co.
2
  “MMA” refers to Defendants Medicare Medicaid Advisors, Inc. and Medicare
Medicaid Advisors USA, Inc.

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their agents must agree to follow in order to participate. Did the district court err in

concluding that any violations by the Defendants were immaterial?

   • United States ex rel. Miller v. Weston Educational, Inc., 840 F.3d 494 (8th
     Cir. 2016)

   • United Health Servs., Inc. v. United States ex rel. Escobar, 579 U.S. 176,
     136 S. Ct. 1989 (2016)

   • United States and the State of New Jersey ex rel. Druding v. Care
     Alternatives, No. 22-1035, 2023 WL 5494333 (3d Cir. Aug. 25, 2023)

   • United States v. Strock, 982 F.3d 51 (2d Cir. 2020)

      3.     If necessary: Did the district court err in granting the motions to

dismiss without giving the Relator an opportunity to amend her complaint to

address any perceived deficiencies?

   • Sentis Group, Inc. v. Shell Oil Co., 559 F.3d 888 (8th Cir. 2009)

   • Martin v. Safe Haven Sec. Servs., Inc., 19-00063, 2020 WL 13538608 (W.D.
     Mo. May 14, 2020)

   • United States ex rel. Brooks v. Stevens-Henager Coll., 305 F. Supp. 3d 1279
     (D. Utah 2018)




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                          STATEMENT OF THE CASE

       Relator Holt alleges that Defendants Aetna, Humana, and UnitedHealthcare

(the “Carrier Defendants”)3; MMA; and Carefree violated the federal False Claims

Act by scheming to obtain government funds via the Medicare Advantage

program, without ever intending to comply, or actually complying, with the

conditions of participation. Funded in part by Carefree, and with the Carrier

Defendants’ knowledge, MMA violated numerous federal regulations to increase

the number of participants on the Medicare Advantage program, thereby

defrauding the government and bringing in additional funds for all Defendants.

The Defendants’ fraud induced the government to fund these Medicare Advantage

Organizations at all, and it induced the government to pay claims that were

impliedly certified as legitimate, when they were not.

       Medicare Advantage is a federally funded alternative to traditional

Medicare, run through private insurance companies such as the Carrier Defendants.

(App. 030-31; R. Doc. 27, ¶¶ 42-47.) Medicare Advantage marketing is strictly

regulated to ensure that vulnerable Medicare recipients are properly informed of

their rights, opportunities, and benefits. (App. 031; R. Doc. ¶ 47.) Given that

carriers and agents working on their behalf are financially incentivized to enroll as



3
  Blue Cross & Blue Shield of Kansas City was initially a Defendant but is no
longer in the case.

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many Medicare beneficiaries as possible—as detailed below—the risk of Medicare

fraud is massive. As detailed in a recent U.S. Senate report, a government

investigation revealed “a range of predatory actions” by sellers/sponsors of MA

Plans.4 The report concludes, in part:

         [W]e are seeing that marketing practices by private plans (or their
         agents and brokers) need to be reined in: bad actors are trying to cash
         in by taking advantage of loopholes and loosened rules around
         marketing and enrollment to beneficiaries—badgering seniors on the
         phone, confusing them on television, and inundating them with
         mountains of mail. An increasing number of marketing materials are
         either fraudulent or deceptive, undermining beneficiary access to care
         and trust in the Medicare program.5

         These regulations also protect the government from abuse by Medicare

Advantage Organizations (“MA Organizations”), such as the Carrier Defendants,

and by third-party agents working on their behalf, such as MMA. The False Claims

Act (“FCA”), 31 U.S.C. § 3729 et seq., permits the federal government to recoup

losses from abuse of the Medicare Advantage program, as well as other programs.

4
  See Deceptive Marketing Practices Flourish in Medicare Advantage: A Report by
the Majority Staff of the U.S. Senate Committee on Finance, Chairman Ron
Wyden, Nov. 3, 2022, at p. 3. Report available at:
https://www.finance.senate.gov/imo/media/doc/Deceptive%20Marketing%20Practi
ces%20Flourish%20in%20Medicare%20Advantage.pdf (last visited Sept. 15,
2023). This Court may take judicial notice of this government report. See United
States v. Trans-Missouri Freight Ass’n, 166 U.S. 290, 364 (1897) (permitting
judicial notice of Congressional reports); Blankenship v. Medtronic, Inc., No. 4:13-
CV-1087 CEJ, 2014 WL 3818485, at *2 (E.D. Mo. Aug. 4, 2014) (holding that
Senate reports were necessarily embraced by the complaint). Here, the report is
offered as background information for the Court.
5
    Id. at 21.

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The FCA is intended “to reach all types of fraud, without qualification, that might

result in financial loss to the Government.” Cook Cnty., Illinois v. United States ex

rel. Chandler, 538 U.S. 119, 129 (2003). A violation occurs when a person or

company “knowingly presents, or causes to be presented, a false or fraudulent

claim for payment or approval” to the government. 31 U.S.C. § 3729(a)(1)(A). A

violation also occurs when a person or company “knowingly makes, uses, or

causes to be made or used, a false record or statement material to a false or

fraudulent claim.” 31 U.S.C. § 3729(a)(1)(B).

I.      How MA Organizations and their agents operate

        To market and service MA Plans, the Carrier Defendants (and others) seek

designation by the Centers for Medicare and Medicaid Services (“CMS”) to be

MA Organizations. (App. 031; R. Doc. 27, ¶¶ 43-45.) MA Organizations are the

only entities authorized by the government (CMS) to offer MA Plans. (App. 031;

R. Doc. 27, ¶¶ 43-44.) MA Organizations—including the Carrier Defendants—

contract with entities such as MMA, which acts as a general agent, utilizing a

network of individual agents to market and service MA Plans. (App. 031-32; R.

Doc. 27, ¶¶ 44, 49-52.)

        MA Organizations, including the Carrier Defendants, and agents, such as

MMA, increase their profits with each new Medicare Advantage beneficiary they

sign up. (App. 077; R. Doc. 27, ¶ 239.) The Carrier Defendants receive money for



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every beneficiary that enrolls in their MA Plans. (App. 075; R. Doc. 27, ¶ 230.)

The more beneficiaries enrolled, the more this government money adds up. For

instance, in 2017, Missouri reported that CMS paid more than $568 million in

premiums to Aetna, Anthem (Blue Cross), Coventry (Aetna), and Humana, for

55,923 Medicare Advantage beneficiaries in the state of Missouri. (App. 076; R.

Doc. 27, ¶ 236.) These payments led to $128 million in profits for these carriers.

(App. 076; R. Doc. 27, ¶ 237.)

      Agents such as MMA are paid by commissions, and those commissions are

similarly tied to the number of beneficiaries enrolled in MA Plans. (App. 032, 041;

R. Doc. 27, ¶¶ 52-53, 98-101.) For instance, in 2018 in St. Louis County, CMS

provided commissions of $455 for each new beneficiary and $228 for each

renewal, up to six years. (App. 041; R. Doc. 27, ¶ 99.) MMA paid its individual

agents up to $165 for each new MA Plan obtained, so MMA received a profit of at

least $290 for each new Medicare Beneficiary signed up in St. Louis County in

2018. (App. 041; R. Doc. 27, ¶¶ 98-100.) Assuming the accuracy of MMA’s claim

of having sold more than 70,000 MA Plans, it has potentially generated more than

$100 million in commissions. (App. 041; R. Doc. 27, ¶ 102.) As alleged, every one

of these commissions was obtained fraudulently. (App. 041; R. Doc. 27, ¶ 103.)

      Medicare Advantage commissions, paid to agents, are funded by CMS

pursuant to contracts between CMS and MA Organizations. (App. 033-034; R.



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Doc. 27, ¶¶ 59-62.) Commissions are separate line items in the applications that

carriers submit to CMS to obtain Medicare Advantage contracts. (App. 035; R.

Doc. 27, ¶ 65.) The commissions are paid entirely by federal dollars, distributed to

agents by the carriers. (App. 035; R. Doc. 27, ¶ 67.)

      A system that rewards private companies with public money for enrolling

individuals from a vulnerable population—seniors—comes with a high risk of

abuse. To protect seniors and itself from such abuse, the government

has enacted extensive regulations that govern MA Organizations and their agents.

To participate in Medicare Advantage, MA Organizations, including the Carrier

Defendants, contract with CMS, conditioned on the promise that they will comply

with “Federal laws and regulations designed to prevent or ameliorate fraud, waste,

and abuse, including but not limited to, applicable provisions of Federal criminal

law, the False Claims Act (31 U.S.C. 3729 et seq.) and the anti-kickback statute

(section 1128B(b)) of the Act).” (App. 077; R. Doc. 27, ¶ 241.) CMS will only

authorize MA Organizations that sign a Part C Certification, which obligates the

organization to adhere to “all marketing requirements” in the federal regulations.

(App. 083; R. Doc. 27, ¶¶ 274-76.) These requirements obligate all MA

Organizations (Carrier Defendants) to ensure that all agents working on their

behalf will adhere to CMS’s certification requirements. (App. 035; R. Doc. 27,

¶ 70); 42 C.F.R. § 422.2274 (c). This requirement means that MA Organizations



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must make certain their agents are properly trained on the Medicare requirements

and the details of the products being offered. (App. 038; R. Doc. 27, ¶ 81.)

         The agent certification requirements are a key part of the regulatory scheme

and one that MMA routinely and purposefully violated. CMS requires that agents

complete training through an approved vendor. Most large carriers, including those

served by MMA, use America’s Health Insurance Plans (“AHIP”) as their

approved vendor. (App. 037; R. Doc. 27, ¶ 76.) All agents must score at least 85%

on an annual exam to be certified to sell MA Plans. (App. 037; R. Doc. 27, ¶ 77.)

Further, there must be procedures in place to make sure that all agents take the test

independently, “maintaining the integrity of the training and testing program.”

(App. 037; R. Doc. 27, ¶ 78.)

II.      MMA consistently violated Medicare rules and regulations.

         To reap profits for itself and the Carrier Defendants, MMA routinely

violated the Medicare rules and regulations, beginning with the certification

process. Since 2008, all agents have been required to meet testing and certification

requirements to sell MA Plans. (App. 036; R. Doc. 27, ¶ 72.) For years, MMA has

falsely attested that its agents were fully AHIP- and carrier-certified, to obtain sales

commissions from CMS, when MMA knew the agents were not legally certified.

(App. 040; R. Doc. 27, ¶ 91.) Indeed, MMA imposed conditions on the

certification process that ensured invalid certifications. (App. 20-23; R. Doc. 27, ¶¶



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104-19.) Thereafter, MMA directed a scheme by which its agents used illegal

methods to sell MA Plans to vulnerable seniors. (App. 040; R. Doc. 27, ¶ 93.)

      MMA’s version of “independent” testing flouts the requirements intended to

ensure proper training before agent certification. In every way, the certifications

are tainted:

          • MMA requires agents to take certification exams en masse, with

               MMA representatives available to help them answer questions. (App.

               042; R. Doc. 27, ¶ 109.)

          • MMA requires all agents to use the same password to provide MMA

               with access to manipulate answers and, ultimately, results. (App. 044;

               R. Doc. 27, ¶ 116.)

          • MMA also takes exams for agents whom it does not believe can pass,

               and at times it takes the exams for agents who are not even present.

               (App. 042; R. Doc. 27, ¶ 109.)

          • When agents finish the test, they are instructed to raise their hands so

               that an MMA representative can review their answers. MMA submits

               the tests only after reviewing them and correcting mistakes. (App.

               042; R. Doc. 27, ¶ 110.)

As a result of these circumstances, Relator Holt alleges that no MMA agents have

ever been Medicare Advantage certified or carrier-certified under CMS-mandated


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conditions. (App. 044; R. Doc. 27, ¶ 117.) Commissions, paid by federal dollars,

should never have been paid because MMA agents were not “in good standing,”

having never legitimately taken annual certification tests, achieving scores of 85%

or better. (App. 032-33; R. Doc. 27, ¶¶ 55-57.)

      The problems are not MMA’s alone. CMS mandates that MA Organizations

ensure that any agents working on their behalf comply with all certification

requirements. (App. 035-36; R. Doc. 27, ¶¶ 70-71.) Yet, none of the Carrier

Defendants ensured MMA’s compliance. Instead, MMA engaged in widespread

fraud that bypassed the certification rules and prevented any agents from being

properly eligible to sell MA Plans. (App. 042-44; R. Doc. 27, ¶¶ 73, 109-17.) Just

as MMA was obligated to certify agents through the CMS-mandated process, the

MA Organizations should have prevented payments of federal dollars to agents

who were not properly, annually trained and tested with scores of at least 85%.

(App. 045; R. Doc. 27, ¶¶ 121-22.)

      Violations of the Medicare rules did not end with the faulty certification

process and failed oversight. Because MMA’s sales force consisted of untrained,

improperly certified agents, MMA was free to direct them to violate numerous

rules and regulations in the process of selling MA Plans, to add more beneficiaries

to the ledger. The following is a summary of the actions MMA took in selling

plans that violated the Medicare rules, to pad its bottom line:



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   • Door knocking: The Medicare regulations prohibit door-to-door

      marketing of MA Plans by MA Organizations or their agents. See 42

      C.F.R. § 422.2264(a)(2). Yet, MMA tells its agents that “door knocking

      is the lifeblood of our company” and instructs agents to sell plans door-

      to-door. Specifically, agents are instructed to knock on a door and then

      hit the houses next door and the house across the street, to try to sign up

      more beneficiaries. (App. 049-50; R. Doc. 27, ¶¶ 139-42.)

   • Cold calls: The Medicare regulations forbid cold-calling potential

      beneficiaries, but MMA makes cold-calling a central piece of its

      marketing strategy. To try to skirt the rules, MMA instructs agents to try

      to get the potential customer to call them back, so that MMA can point to

      a customer-initiated call in its records. (App. 050; R. Doc. 27, ¶ 143); 42

      C.F.R. § 422.2264 (a)(2)(iv).

   • Lead cards: Medicare-eligible individuals are provided with “lead

      cards” that they can sign and send in if they want more information—

      thereby authorizing agents to contact them. Instead, MMA instructs its

      agents to approach seniors with unsigned lead cards and attempt to get

      signatures “for storage.” (App. 051-53; R. Doc. 27, ¶¶ 149-55); 42 C.F.R.

      § 422.2264(a)(3).




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   • Ignoring scope of appointment requirements: 2008 guidance by CMS

      limits sales of MA Plans to those within the scope of an appointment

      already agreed to by the beneficiary. MMA completely disregards this

      requirement through its cold calls, door-to-door sales, and other improper

      marketing tactics. (App. 058-59; R. Doc. 27, ¶¶ 179-84); 42 C.F.R. §

      2264(c)(3).

   • Promoting plan-switching: The Medicare regulations forbid promotion

      of plan-switching for any reason other than the best interests of the

      beneficiary. See 42 CFR § 422.2268 (e), (j). Yet, MMA instructs agents

      to try to switch beneficiaries to new plans whenever doing so would

      benefit MMA’s bottom line by helping the carriers with which it does

      business. MMA tells its agents that they cannot not hurt the beneficiaries

      through this practice, but this statement is patently untrue, as switching

      often takes away medications or removed doctors from beneficiaries’

      approved lists. (App. 062-64; R. Doc. 27, ¶¶ 193-201.)

   • Enrolling outside of approved periods: Medicare Advantage has a

      defined enrollment period, usually from October to December.

      Enrollment requests may not be submitted outside of this period. Yet,

      MMA instructs agents to enroll Medicare beneficiaries outside of the

      defined periods and leave the date on the application blank, so that MMA


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          can post-date it within the approved period. (App. 073-74; R. Doc. 27, ¶¶

          223-25.)

       • Star Ratings: MMA also works with the Carrier Defendants to bring in

          more federal money by artificially inflating star ratings. CMS

          incentivizes MA Organizations to provide good service by giving them

          larger payments when their customer ratings reach certain levels.

          Complaints to CMS reduce those ratings. Thus, MMA instructs all

          beneficiaries to direct all complaints to MMA, so that CMS does not

          receive complaints and the Carrier Defendants obtain more federal funds

          through inflated star ratings. (App. 089-94; R. Doc. 27, ¶¶ 307-35.)

III.   The Carrier Defendants ignored their certification promises.

       Every year, the Carrier Defendants resubmit Medicare Advantage bids and

their applications to be MA Organizations include Part C certifications, in which

they promise to adhere to all marketing regulations and guidance. (App. 034-35,

083; R. Doc. 27, ¶¶ 62-67, 272-76); see also 42 U.S.C. § 422.504(a)(10) (bids are

“annual”). CMS requires the Carrier Defendants to “ensure” that agents such as

MMA comply with certification requirements, so that such agents know the rules

about how they may market MA Plans. (App. 035; R. Doc. 27, ¶¶ 70-71); see also

42 CFR §§ 422.2274(c)-(d). There is no evidence that the Carrier Defendants have

taken any steps to comply with that duty. MMA was violating rules and regulations


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with impunity, and therefore all of the Part C certifications submitted to CMS by

the Carrier Defendants were false.

       Further, the Carrier Defendants did nothing to stop MMA after being given

detailed information about MMA’s misconduct. Relator Holt put each of the

Carrier Defendants on notice about MMA’s illegal conduct on September 11,

2017.6 (App. 025, 077; R. Doc. 27, ¶¶ 9, 243-44.) She explained in detail the

numerous rules violations MMA committed in selling MA Plans. (App. 078; R.

Doc. 27, ¶ 245.) The notices made no difference. The Carrier Defendants

continued to use MMA, unfettered, to sell their MA Plans, and Aetna continued to

invest in MMA through Carefree, its wholly owned subsidiary. (App. 080; R. Doc.

27, ¶¶ 9, 255.) Thus, since at least 2017, the Carrier Defendants have known that

federal funds they received and, in part distributed to MMA, disguised kickbacks

because none of them was following “all applicable state and federal laws,

regulations and requirements,” as the regulations require. (App. 025; R. Doc. 27, ¶

13.)



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  Relator Holt is not suggesting that the Carrier Defendants could not be liable for
certifications made before September 2017. That issue will need to be determined
through discovery. Notably, the scienter standard includes recklessness. As one
circuit court wrote: “Congress added the ‘reckless disregard’ prong to the
definition of knowledge in the False Claims Act ‘to target that defendant who has
‘buried his head in the sand’ and failed to make some inquiry into the claim’s
validity.’” United States ex rel. Prather v. Brookdale Senior Living Cmtys., Inc.,
892 F.3d 822, 837 (6th Cir. 2018).

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      Aetna was the only Defendant to take any action whatsoever in response to

Relator Holt’s letter. (App. 079; R. Doc. 27, ¶¶ 247-48.) Aetna hired outside

counsel who spoke with Holt. (App. 079; R. Doc. 27, ¶¶ 249.) In the end, however,

Aetna did nothing more than insist that many of MMA’s agents be recertified,

without even ensuring that the new certification tests were taken properly. (App.

079; R. Doc. 27, ¶¶ 250-51.) Nothing of substance came of Aetna’s so-called

“investigation.” (App. 080; R. Doc. 27, ¶ 254.) Despite federal regulations

requiring that MA Organizations “oversee entities to ensure agents/brokers abide

by all applicable state and federal laws, regulations, and requirements,”

Defendants’ conduct here remains unchecked and unremedied. (App. 033; R. Doc.

27, ¶ 57.)

IV.   Defendants’ deception induced CMS into contracts.

      Through the actions above, the Carrier Defendants and MMA have deceived

CMS into entering into contracts that it would not have entered, and into paying

claims and commissions that it would not have paid, had it been fully informed of

Defendants’ actions. By engaging in this widespread sales agent certification fraud,

MMA has been able to send out unqualified agents to sell MA plans to Medicare

beneficiaries and, in turn, obtain commissions to which, absent this fraud, it would

not have been entitled. (App. 044; R. Doc. 27, ¶ 113.) Relator Holt alleges that

“[e]ach and every commission (either for a new enrollee or for a renewal of a



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MAP) paid to MMA based on sales of MAPs that occurred as a result of its agents’

violations of CMS regulations would not have been paid if CMS knew about

MMA’s violations of CMS regulations.” (App. 048; R. Doc. 27, ¶ 134.) As to the

Carrier Defendants, Relator Holt alleges that “[i]f CMS had known that signed

MAP applications” submitted by the Carrier Defendants “were obtained as a result

of violation of applicable state and federal laws, regulations and requirements,

CMS would never have verified the enrollment of these beneficiaries into

Medicare Advantage program.” (App. 100; R. Doc. 27, ¶ 375.)

V.      Procedural history and issues on appeal

        All Defendants filed motions to dismiss in the district court. (App. 107, 140,

175, 210; R. Doc. 67, 69, 74, 76.) Relator Holt filed oppositions to those motions.

(App. 245, 277, 304, 327; R. Doc. 83, 84, 85, 86.) On August 22, 2022, the district

court entered its Order granting the motions. (Add. 17; App. 410; R. Doc. 101.)

The next day, the court entered judgment. (Add. 18; App. 427; R. Doc. 102.) On

September 20, 2022, Plaintiffs filed a motion under Rule 59(e), seeking

reconsideration of the dismissal. (App. 428; R. Doc. 103.) After the motion was

fully briefed, the court denied that motion on June 2, 2023. (Add. 19; App. 469; R.

Doc. 109.) This appeal followed.




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      On appeal, Relator Holt challenges the decision dismissing her case. In the

alternative, she challenges the court’s decision to enter judgment with prejudice

and deny her request to replead.




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                       SUMMARY OF THE ARGUMENT

      Relator Holt has alleged, with compelling facts, more than plausible claims,

that the Defendants’ violation of the Medicare rules and regulations, and their

concealment of those violations, fraudulently induced the government—via

CMS—into allowing them into the Medicare Advantage program which resulted in

government payments to the Defendants. United States ex rel. Miller v. Weston

Educational, Inc., 840 F.3d 494 (8th Cir. 2016), in which this Court reversed the

grant of summary judgment on an FCA claim, is at least instructive, and arguably

dispositive, of the issues raised herein.

      Here, as in Miller, the Defendants concealed from the government their

widespread fraud, from the inception of their participation in Medicare Advantage.

See Miller, 840 F.3d at 500-03. This fraud occurred whenever the Carrier

Defendants, who were responsible for MMA’s actions, annually represented their

compliance with Medicare rules and regulations, and whenever MMA sought

payment for commissions, based on enrollments obtained through improper means

by agents who were never properly certified. See Arthurs v. Global TPA LLC, 208

F. Fupp. 3d, 1260, 1267 (M.D. Fla. 2015) (stating that “participation in the

Medicare Advantage program is conditioned as a matter of law on [ ] compliance

with Medicare’s marketing regulations.”); 42 C.F.R. § 422.510(4)(viii). As in

Miller, because the Carrier Defendants made fraudulent misrepresentations to join



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the program, and because MMA made fraudulent omissions every time it made

claims for payment, every transaction was tainted and invalid due to all

Defendants’ fraud in the inducement. See Miller, 840 F.3d at 504.

      Miller lays out four elements that must be met to establish a fraud in the

inducement claim in the context of the FCA: that “(1) the defendant made a “false

record or statement”; (2) the defendant knew the statement was false; (3) the

statement was material; and (4) the defendant made a “claim” for the government

to pay money or forfeit money due.” Id. at 500. The allegations above establish the

first two elements, and the district court did not hold otherwise. Moreover, the

district court erred in concluding that Relator Holt did not allege facts, which,

taken in her favor, would state a plausible claim that Defendants made “claims for

payment,” and in concluding that the Defendants’ regular and intentional violations

of numerous Medicare regulations were immaterial, as a matter of law.

      As to the “claim” for payment element, the allegations and basic logic

dictate that the Carrier Defendants made “claims” to the government for payment.

That is how the system works—the MA Organizations send in their applications

based on the number of beneficiaries they intend to serve, and then the government

funds those organizations. The district court reasoned that there was no allegation

that the government paid too much money per beneficiary. But there are

allegations that the number of beneficiaries was inflated. And regardless, that point



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does not address whether the Carrier Defendants made claims for payment—they

did.

       Per the FCA, MMA also made claims for payment, even though it did not

interact directly with CMS. As discussed by the U.S. Supreme Court, a

subcontractor makes a claim for payment under Section 3729(a)(2) when it

“submits a false statement to the prime contractor intending for the statement to be

used by the prime contractor to get the Government to pay its claim.” Allison

Engine Co. v. U.S. ex rel. Sanders, 553 U.S. 662, 670 (2008).

       As to materiality, Miller is highly persuasive because this Court determined

that there was a question of fact on materiality, sufficient to defeat summary

judgment, relating to FCA claims brought under an analogous theory of fraudulent

inducement. See Miller, 840 F.3d at 504-05. Further, several other recent circuit

decisions have found materiality, on less compelling sets of facts than those

present here. Moreover, allegations that compliance with rules was a condition of

participation in the program at issue, as well as allegations that the defendants’

violations of those rules were widespread and consistent, led to findings of

materiality. Similar allegations are also present in this case, so this Court should

likewise determine that there is a question of fact on the issue of materiality.

       Alternatively, this Court should at least remand the case to allow Relator

Holt to replead to address any perceived deficiencies in her complaint. This Court



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should reverse the district court’s erroneous decision to dismiss Relator Holt’s

complaint with prejudice.

                                   ARGUMENT

       The district court erred in dismissing Relator Holt’s case. She has stated

facts, when viewed in her favor, that state plausible claims that the Carrier

Defendants and MMA defrauded the government by soliciting plan disbursements

and commissions for MA Plans that were obtained through serial violations of

federal rules and regulations. The Carrier Defendants falsely certified, annually,7

that they would follow these rules and regulations, including ensuring downstream

entities, like MMA, were CMS-compliant. MMA’s widespread, company-directed

fraud caused the Carrier Defendants’ certifications to be false. Further, under

settled law, MMA impliedly certified that its commissions were based on

legitimate sales of MA Plans, when they were not. Relator Holt alleges that CMS

would not have paid any of these funds to the Defendants if it had known that the

Defendants did not intend to follow the rules and regulations, from the beginning.




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  All MA Organizations must submit an application to CMS annually, and they
operate on one-year roll-over contracts. See 42 U.S.C. § 422.504(a)(10) (listing
requirements for their “annual bid”); 42 U.S.C. § 422.505(c) (stating that contracts
are renewed annually unless contrary action is taken).

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I.      Legal standards

        A.    Standard of review

        This Court reviews a dismissal with prejudice resulting from a Rule 12

motion de novo. Cockram v. Genesco, Inc., 680 F.3d 1046, 1056 (8th Cir. 2012).

The court “accept[s] the allegations contained in the complaint as true and draw[s]

all reasonable inferences in favor of the nonmoving party.” Id. To survive a motion

to dismiss, a complaint must contain “enough facts to state a claim of relief

plausible on its face.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007).

        B.    Standards for FCA claims

        Under Eighth Circuit law, a Relator may base an FCA claim on a theory of

fraudulent inducement. In such cases, “FCA liability attaches to each claim

submitted to the government under contract so long as the original contract was

obtained through false statements or fraudulent conduct.” United States ex rel.

Miller v. Weston Educational, Inc., 840 F.3d 494, 499 (8th Cir. 2016) (citations

omitted). This Court has further clarified the law as follows:

        This fraud did not spend itself with the execution of the contract. Its
        taint entered into every swollen estimate which was the basic cause for
        payment of every dollar paid by the [government]…. The initial
        fraudulent action and every step thereafter taken, pressed ever to the
        ultimate goal—payment of government money to persons who caused
        it to be defrauded. ... [C]laims for payment subsequently submitted
        under and contract initially induced by fraud do not have to false or
        fraudulent in and of themselves in order to state a cause of action under
        the FCA.



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In re Baycol Products Litigation, 732 F.3d 869, 875 (8th Cir. 2013). Other circuits

agree. See, e.g., United States ex rel. Hendow v. University of Phoenix, 461 F.3d

1166, 1170-71 (9th Cir. 2006) (“The False Claims Act ... is not limited to such

facially false or fraudulent claims for payment. Rather … each and every claim

submitted under a contract, loan guarantee, or other agreement which was

originally obtained by means of false statements or other corrupt or fraudulent

conduct, or in violation of any statute or applicable regulation, constitutes a false

claim.”).

II.      Miller is an important precedent on point, involving fraudulent
         inducement claims under the FCA.

         Although it arises in a different procedural context, this case bears

substantial similarity to Miller, a case that provides the framework for reviewing

whether Relator Holt has stated a claim. In Miller, as here, the relator’s claim was

based primarily on the theory that the government would never have entered into

contracts with the defendant if the government had known about the defendant’s

fraud. Miller, 840 F.3d at 500, 503-04. In Miller, relators sued Heritage College,

alleging that it fraudulently induced the Department of Education to pay funds by

promising to keep accurate student records. Miller, 840 F.3d at 498. On appeal,

this Court reversed a grant of summary judgment on the relators’ claims under the

False Claims Act. Id.




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      The defendant, Heritage, applied to the government for aid under Title IV by

signing a Program Participation Agreement. Id. The agreement obligated Heritage

to establish and maintain the records and procedures necessary “to ensure proper

and efficient administration of funds.” Id. The school agreed to document each

student’s eligibility, as well as information about refunds received on behalf of any

student. Id. The relators submitted evidence that Heritage altered grade and

attendance records from 2006 to 2012 to ensure that students remained eligible and

to avoid any refunds, thereby maximizing Title IV funds. Id.

      In reversing the grant of summary judgment, this Court stated that under a

fraudulent inducement theory, “FCA liability attaches to ‘each claim submitted to

the government under a contract so long as the original contract was obtained

through false statements or fraudulent conduct.’” Id. at 499 (quoting In re Baycol

Prods. Litig., 732 F.3d 869, 876 (8th Cir. 2013), and citing numerous other cases).

The Court also specified the four elements of a fraudulent inducement claim under

the FCA: that “(1) the defendant made a “false record or statement”; (2) the

defendant knew the statement was false; (3) the statement was material; and (4) the

defendant made a “claim” for the government to pay money or forfeit money due.”

Id. at 500.

      The Miller Court first assessed whether the evidence supported a conclusion

that Heritage acted with the necessary intent. For FCA liability to attach, the



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defendant “must have ‘actual knowledge of the information,’ or act in ‘deliberate

ignorance’ or ‘reckless disregard’ of the truth or falsity of the information.” Id.

(citing 31 U.S.C. § 3729(b)). The evidence showed that Heritage had policies

requiring it to comply with government regulations, that Heritage consistently

falsified records, and that Heritage sought to maximize its Title IV funding. Id. at

501-02. Therefore, “a reasonable jury could find that Heritage knew it had to keep

accurate grade and attendance records and intended not to do so.” Id. at 502. This

Court reached this conclusion even though none of the altered records impacted

Title IV disbursements or refunds, and even though most of the evidence used to

show intent occurred after Heritage signed the PPA. Ultimately, the contrary

evidence presented a fact question for the jury. Id. at 502-03.

      This Court also held that there was a fact dispute on the materiality element.

“A false statement or record is ‘material’ for FCA purposes if either (1) a

reasonable person would likely attach importance to it or (2) the defendant knew or

should have known that the government would attach importance to it.” Id. at 503

(citing United Health Servs., Inc. v. United States ex rel. Escobar, 579 U.S. 176,

136 S. Ct. 1989, 2002-03 (2016)). The Court rejected Heritage’s argument that its

fraud was immaterial because it was not directly connected with the funds

submitted. Liability attaches to every claim submitted pursuant to a government

contract whenever “the original contract was obtained through false statements or



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fraudulent conduct.” Id. at 504 (citing In re Baycol, 732 F.3d at 875-76.) The issue

was whether the fraud was material to the government’s willingness to enter into

contracts with Heritage, and there was a fact dispute on that issue. Participation in

the program was conditioned on compliance with the government’s record-keeping

requirement. The Court considered whether a “reasonable person” would attach

importance to the promises made, and determined that one could. Id. at 504.

      Relator Holt pleads all the facts Miller said are necessary elements for a

claim based on fraudulent inducement. As alleged in the complaint, the Carrier

Defendants promised to abide by all regulations in gaining access to government

funds. This was a false promise, as MMA failed to certify its agents, leading to

widespread violations of numerous rules and regulations, unsupervised by the

Carrier Defendants (despite their obligation to supervise MMA). Worse, as of 2017

at the latest, the Carrier Defendants had actual notice of MMA’s conduct. Thus, the

Complaint sets forth a claim that Defendants fraudulently induced the provision of

government funds, and every transaction is tainted by fraud, as in Miller and other

cases. See, e.g., United States ex rel. Prather v. Brookdale Senior Living Cmtys.,

Inc., 892 F.3d 822 (6th Cir. 2018) (stating that a defendant’s misrepresentation

through omission, when making a claim for payment under the FCA, “renders the

claim ‘false or fraudulent’ under § 3729(a)(1)(A)”); United States ex rel. Brooks v.

Stevens-Henager Coll., 305 F. Supp. 3d 1279 (D. Utah 2018) (“Promissory fraud,



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which is also referred to as fraudulent inducement, is a theory that attaches liability

to each and every claim submitted under a contract obtained through fraudulent

statements.”).

       The following section will address each of the four elements of fraudulent

inducement as laid out in Miller, two of which formed the basis for the district

court’s erroneous decision.

III.   The Complaint sufficiently pleads knowing false statements by the
       Defendants.

       The first two Miller elements need not be addressed extensively, as neither

formed the basis for the district court’s decision. But as summarized above and

detailed in the Complaint, Relator Holt has alleged, with particularity, that the

Defendants knowingly made false statements or material omissions. Taken as true,

these facts state claims for relief.

       As discussed above, the participation of MA Organizations, including the

Carrier Defendants, in the Medicare Advantage program is conditioned by law on

compliance with Medicare’s marketing regulations. (App. 077; R. Doc. 27, ¶ 241.)

42 C.F.R. § 422.510(4)(viii); Arthurs, 208 F. Fupp. 3d at 1267. MA Organizations

also must sign a Part C certification, which promises that the organization will

adhere to “all marketing requirements” in the federal regulations. (App. 083; R.

Doc. 27, ¶¶ 274-76.) The signatory agrees that s/he is “an authorized

representative, officer, chief executive officer, or general partner of the business

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organization that is applying for qualification to enter a Part C contract.” (App.

084; R. Doc. 27, ¶ 274.) By signing, the Carrier Defendants promised to “abide by

the requirements contained in Section 3 of this Application and provide the

services outlined in [the] application.” (App. 083; R. Doc. 27, ¶ 275.) Section 3

affirms that “Applicant agrees to adhere to all marketing requirements in 422.2260

through 422.2276 of the Medicare Marketing Guidelines.” (App. 083; R. Doc. 27,

¶ 276.) These Defendants, if they utilize agents such as MMA, must “ensure” that

MA Plans are sold in compliance with certification requirements. (App. 081; R.

Doc. 27, ¶ 257.) Indeed, Aetna’s own documentation states that “CMS holds

(Aetna) responsible for the actions of all agents representing Aetna or Coventry.”

(App. 026, 035, 038; R. Doc. 27, ¶¶ 14, 70, 81.)

      The complaint alleges that the Carrier Defendants made these promises

knowing they were false, and that MMA’s actions were the reason that those

promises were false. Thus, as in Miller, the Carrier Defendants knowingly

provided false information when they represented to the government that would

comply with all Medicare rules and regulations. The Carrier Defendants’

fraudulent intent can be inferred from their knowledge, which is alleged in the

complaint. Relator Holt gave them all great detail about MMA’s activities in

September, 2017, so at least as of that point they knew how MMA was violating

numerous Medicare regulations on their behalf. Yet, they continued to certify that



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they would comply, knowing that they were responsible for MMA’s actions, and

knowing that MMA would not comply. From that information, reasonable jurors

could conclude that the Carrier Defendants signed their certifications with the

intent to deceive the government. The Complaint pleads that the Carrier

Defendants knew that compliance was their ticket to participation in Medicare

Advantage and they never intended to so comply. In Miller, such facts were

sufficient to defeat summary judgment, a fortiori, they must be sufficient to state

claims for relief at the pleading stage. See Miller, 840 F.3d at 501-02.

      As to MMA, its wholesale failure to certify agents as required by the

regulations, and the resultant, extensive, non-compliant activity, creates a strong

inference that MMA never intended to comply with the Medicare regulations.

Regarding intent, this Court noted in Miller that the defendant had engaged in a

pattern of rules violations intended to maximize its federal funding. Miller, 840

F.3d at 501-02. The Complaint sets forth the myriad ways in which MMA violated

the Medicare rules and regulations, including but not limited to cheating on

certification tests; cold-calling potential Medicare recipients and knocking on

doors; coercing seniors to switch plans, even if it harmed them; and insisting that

all complaints go to MMA to protect the Carrier Defendants’ star ratings. (See,

e.g., App. 042-44, 050, 062-63, 092-93; R. Doc. 27, ¶¶ 108-17, 141-43, 193-198,

327-31.) All of these allegations reveal MMA’s nefarious intent.



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      While MMA did not make direct certifications to the government, as the

Carrier Defendants did, certifications need not be direct to support a claim under

the FCA. The Supreme Court has endorsed the “implied certification” theory of

FCA liability. See Escboar, 579 U.S. at 181 (holding that liability can attach “when

the defendant submits a claim for payment that makes specific representations

about the goods or services provided, but knowingly fails to disclose the

defendant’s noncompliance with a statutory, regulatory, or contractual

requirement.”). Liability attaches where material facts are omitted to make the

representations misleading. Id.

      Here, MMA routinely submitted new applications to receive commissions,

concealing its violations of the regulations governing sales of MA Plans to seniors.

(App. 033, 039; R. Doc. 27, ¶¶ 59-61, 87.) The issue of whether those applications

constitute “claims” is addressed below, but Relator Holt’s allegations certainly

cover the first two elements of fraud in the inducement. MMA has, on numerous

occasions, made a “false record or statement,” which MMA knew was false. See

Miller, 840 F.3d at 500.

      This Court need not dwell on those two elements, as they were not the basis

for the district court’s decision. Nonetheless, the Court should conclude that the

allegations state a plausible claim that both the Carrier Defendants and MMA

knowingly made false statements, overtly and/or by omission.



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IV.   The District Court’s conclusion that no Defendant made a claim under
      the FCA is wholly illogical as to the Carrier Defendants, and legally
      inaccurate as to MMA.

      Even though Relator Holt alleges that all Defendants have made substantial

profits from the Medicare Advantage program, and even though the court was

required to accept those facts as true, it somehow concluded that none of the

Defendants made claims for payment. This Court should reverse that decision.

      To state a claim under the FCA, a relator must allege that the defendant

made a claim for payment from the government. Miller, 840 F.3d at 498. The FCA

defines a “claim” as:

      (A)       … any request or demand, whether under a contract or otherwise,
                for money or property and whether or not the United States has
                title to the money or property, that—

         (i)          is presented to an officer, employee, or agent of the United
                      States; or

         (ii)         is made to a contractor, grantee, or other recipient, if the
                      money or property is to be spent or used on the
                      Government’s behalf or to advance a Government program
                      or interest, and if the United States Government—

                (I)      provides or has provided any portion of the money or
                         property requested or demanded; or

                (II)     will reimburse such contractor, grantee, or other recipient
                         for any portion of the money or property which is
                         requested or demanded; and

31 U.S.C.A. § 3729(b)(2)(A).




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      Here, Relator Holt alleges that “MMA has caused thousands of claims to be

presented to the government under false pretenses because MMA has prevented

virtually all of its agents from being properly certified either through AHIP or for

the specific carriers MMA agents represent.” (App. 040; R. Doc. 27, ¶ 95.) The

complaint explains how the Carrier Defendants consistently certified to the

government that they would follow all Medicare rules and regulations, including

ensuring compliance by all agents, but these were knowingly false statements.

(App. 083-84; R. Doc. 27, ¶¶ 272-80.) Thus, Relator Holt alleges that all of the

Carrier Defendants’ applications for enrollment “amount to false claims because

the agents who sold the policies were not properly certified—and these

applications are false claims to the government for the payment of commissions.”

(App. 044; R. Doc. 27, ¶ 120.)

      A.     The Carrier Defendants’ claims to the government directly
             resulted in government funding for the Medicare Advantage
             Plans.

      As to the Carrier Defendants, it defies logic to conclude that they have not

made “claims” to the government. The Carrier Defendants directly communicate

and contract with the government, and are paid by the government based on the

number of Medicare beneficiaries who sign up for the program. (App. 033-34, 077;

R. Doc. 27, ¶¶ 62-66, 239-41.) Thus, by any logical conception of the term, the

Carrier Defendants made “any request or demand … for money or property” that



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was “presented to an officer, employee, or agent of the United States.” 31 U.S.C.A.

§ 3729(b)(2)(A)(i). See also United States ex rel. Taylor v. Boyko, 39 F.4th 177,

196 (4th Cir. 2022) (noting that it is sufficient to allege “a pattern of conduct that

would necessarily have led to submission of false claims to the government for

payment”) (alterations omitted); Thayer v. Planned Parenthood of the Heartland,

No. 4:11-CV-129-JAJ, 2019 WL 13039126, at *13 (S.D. Iowa Apr. 1, 2019), aff’d

sub nom. Thayer v. Planned Parenthood of the Heartland, Inc., 11 F.4th 934 (8th

Cir. 2021) (“The parties do not dispute that PPH has submitted claims to the

government for reimbursement for dispensing OCPs pursuant to its contract with

Medicaid.”).

      The district court’s (limited) analysis as to why the Carrier Defendants

supposedly did not submit “claims” for payment should be rejected. The court’s

“claims” analysis wrongly relied on the position that the government pays a fixed

amount per beneficiary, regardless of the number of them, and that MA

Organizations—not CMS—pay commissions to agents such as MMA. (Add. 10-

11; App. 419-20; R. Doc. 101 at 10-11.) The court held that Count I, and Counts

and III through VI, are “premised on the payment by the Government being the

commissions MMA received from the insurance companies.” (Add. 11; App. 420;

R. Doc. 101 at 11.) That statement shows a misunderstanding of the flow of

payments, all of which are federal funds. (App. 033, 082; R. Doc. 27, ¶ 57, 60,



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270.) The government pays the Carrier Defendants directly based on their annual

bids. (App. 035; R. Doc. 27, ¶¶ 64-67.)

      The Carrier Defendants contract directly with the government, through

CMS. (App. 031; R. Doc. 27, ¶¶ 43-45.) They also contract with agents such as

MMA to sell MA Plans. (App. 032; R. Doc. 27, ¶¶ 49-52.) Thus, all of the money

involved flows through the Carrier Defendants. Some of what the Carrier

Defendants receive is passed on to MMA in the form of commissions. (App. 033,

082; R. Doc. 27, ¶¶ 57, 60, 270.) But the Carrier Defendants also receive money

for themselves, and—importantly—that amount increases with every beneficiary

that signs up for a MA Plan. (App. 075; R. Doc. 27, ¶ 230.) MA Organizations

typically make a profit margin of 15% of the total amount that CMS pays into the

plan. (App. 075; R. Doc. 27, ¶ 231.) To obtain these funds, the Carrier Defendants

have to apply every year, with Part C certifications promising to follow the

regulations.

      By applying to the government to obtain Medicare Advantage funds, the

Carrier Defendants are making “claims.” See 31 U.S.C.A. § 3729(b)(2)(A)(i)

(defining claim as “any request or demand … for money or property” that was

“presented to an officer, employee, or agent of the United States”). As the Ninth

Circuit has explained, “it is irrelevant how the federal bureaucracy has apportioned

the statements among layers of paperwork.” United States ex rel. Hendow v.



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University of Phoenix, 461 F.3d 1166, 1177 (9th Cir. 2006) (citing United States ex

rel. Main v. Oakland City Univ., 426 F.3d 914, 916 (7th Cir. 2005)). Instead, “[a]ll

that matters is whether the false statement or course of conduct causes the

government to ‘pay out money or to forfeit moneys due.’” Id.

      The district court’s failure to consider fraudulent inducement is of particular

importance vis-à-vis the “claims” of the Carrier Defendants. Relator Holt does not

assert that CMS paid too much on a per-claim basis. Rather, she asserts that all the

money CMS provided to the Carrier Defendants was distributed under false

pretenses. That the payment amount is fixed has no bearing on whether the

payments were justified in the first instance. Relator Holt specifically alleges that

“[i]f CMS had known that signed MAP applications” submitted by the Carrier

Defendants “were obtained as a result of violation of applicable state and federal

laws, regulations and requirements, CMS would never have verified the enrollment

of these beneficiaries into Medicare Advantage program.” (App. 100; R. Doc. 27, ¶

375.) Thus, the “claims” at issue are the Carrier Defendants’ yearly applications

for CMS funds.

      The district court’s ruling begs the question, how are the Carrier Defendants

being paid by CMS if they have not made claims for government money? The

ruling, if upheld, would insulate all MA Organizations from any liability under the

FCA. If their applications to obtain government funds do not constitute “claims,”



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then it is difficult to conceive of how they would ever make “claims” under the

FCA. Surely, Congress did not intend that insurance companies marketing MA

Plans to vulnerable seniors would be immune from suit under the FCA, no matter

how deceptive they, or their agents, may be. In fact, the rules making MA

Organizations responsible for the actions of their agents strongly suggest the

opposite intent. (App. 081; R. Doc. 27, ¶ 257); 42 C.F.R. § 422.2272(e),

422.2274(c).

       B.      MMA made claims under the FCA, by submitting applications for
               the Carrier Defendants, expecting that its claims would be paid
               through government funds.

       Though MMA requires a different analysis on the “claim” issue, the result is

the same. Because MMA made claims to third-parties (the Carrier Defendants)

with the intent of receiving government funds, it also has made claims under the

FCA.

       Under the statutory definition, MMA makes its “request[s] or demand[s]” to

the Carrier Defendants, who are “contractors, grantee[s], or other recipient[s]” of

CMS funds through the Medicare Advantage program. 31 U.S.C.A.

§ 3729(b)(2)(A)(ii). The funds are clearly designed to “advantage a Government

program or interest,” specifically the Medicare Advantage program.

       The U.S. Supreme Court has addressed FCA claims by agents in a similar

context. See Allison Engine Co. v. U.S. ex rel. Sanders, 553 U.S. 662 (2008). In



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Allison Engine, the U.S. Navy contracted with two shipyards to build destroyers.

The shipyards then sub-contracted with Allison Engine to build generator sets. Id.

at 665-66. The Court noted that, under the FCA, liability attaches to any person

that “knowingly makes, uses, or causes to be made or used, a false record or

statement to get a false or fraudulent claim paid or approved by the Government.”

Id. at 666 (citing 31 U.S.C. § 3729(a)(2) (emphasis supplied)). The statute does not

require a direct request for payment to the government. Rather, it applies where “a

contractor, grantee, or other recipient if the United States Government provides

any portion of the money or property which is requested or demanded, or if the

Government will reimburse such contractor, grantee, or other recipient for any

portion of the money or property which is requested or demanded.” Id. at 670

(citing 31 U.S.C. §3729(c)).

      Therefore, Section 3729(a)(2) does not require that a defendant, itself, make

a false claim. Rather, there must be proof—or, at this stage, it must be alleged—

that the defendant “made a false record or statement for the purpose of getting ‘a

false or fraudulent claim paid or approved by the Government.’” Id. at 671.

“Therefore, a subcontractor violates § 3729(a)(2) if the subcontractor submits a

false statement to the prime contractor intending for the statement to be used by the

prime contractor to get the Government to pay its claim.” Id.




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      Here, the complaint alleges in great detail how MMA violated numerous

Medicare Advantage rules and regulations but continually sent in claims for

commission payments. (See, e.g., App. 040; R. Doc. 27, ¶ 95 (“MMA has caused

thousands of claims to be presented to the government under false pretenses

because MMA has prevented virtually all of its agents from being properly

certified either through AHIP or for the specific carriers MMA agents represent.”);

App. 073; R. Doc. 27, ¶ 218 (“Each of these applications [for the Medicare

Advantage program] and the thousands of others obtained by MMA agents that

were submitted to CMS were false claims because they were premised on the agent

being properly Medicare Advantage Certified and carrier-certified, which MMA

agents were not.”).) Relator Holt further alleges that MMA knowingly or

recklessly submitted applications for MA Plans from agents whom it knew were

not properly certified to sell those plans. (App. 096; R. Doc. 27, ¶ 348.) As MMA

intended, these applications resulted in increased commission payments. (App.

096; R. Doc. 27, ¶ 350.) On those facts, MMA submitted numerous “claims” under

the FCA. See Allison Engine, 553 U.S. at 670 (holding that a subcontractor makes

a “claim” under the FCA where it submits a request for payment—whether to a

contractor or to the government—with the intent that the government will pay the

claim).




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        The district court’s focus on the fact that the carriers pay MMA directly,

rather than the government, places form over substance. (Add. 10-11; App. 419-20;

R. Doc. 101 at 10-11.) Every new beneficiary that MMA signs up increases the

commissions that MMA receives, while also increasing the number of claims paid

to the Carrier Defendants, at a 15% or greater profit margin. (App. 075, 041; R.

Doc. 27, ¶¶ 98-103, 230-32.) The compensation for these commissions comes from

federal dollars. (See App. 041; R. Doc. 27, ¶ 99 (explaining that CMS sets the rates

for agent commissions).) Thus, all Defendants have made “claims” for payment, as

that term is defined by the FCA.

V.      The District Court also erred in concluding that the Defendants’ actions
        were not material to the government.

        The final element is materiality, and this Court should reverse the district

court’s conclusion that well-pleaded allegations of paying thousands of illegitimate

commissions and related payments for Medicare Advantage enrollments was

immaterial to the government. As stated in Miller, a false record or statement is

“material” if either “(1) a reasonable person would likely attach importance to it or

(2) the defendant knew or should have known that the government would attach

importance to it.” Both apply here.

        A.    Miller and several other circuit cases are on point.

        Materiality was a key issue in Miller. The Court considered whether the

government conditioned payment on following relevant government rules. Miller,

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840 F.3d at 503-04. Here, Relator Holt alleges several conditions must be met for

CMS to pay commissions, including but not limited to agents being authorized to

sell MA Plans, and CMS validating enrollment forms submitted by MA

Organizations. (App. 046; R. Doc. 27, ¶¶ 126.)

      Under the regulations, agents may only receive commissions if they are in

good standing, as defined by CMS. (App. 032-33; R. Doc. 27, ¶¶ 54-56.) MMA

committed rampant fraud in the testing process, thereby preventing any agents

from being properly certified. (App. 044; R. Doc. 27, ¶¶ 118.) Thus, none of

MMA’s agents were in “good standing” and authorized to sell MA Plans, and the

government should not have paid any of those commissions. (App. 035, 041; R.

Doc. 27, ¶¶ 68, 103.)

      Meanwhile, the Carrier Defendants certified that they would abide by all of

the Medicare Advantage rules and regulations, as required to become a MA

Organization. (App. 031, 083; R. Doc. 27, ¶¶ 44, 272-78.) MA Organizations,

including the Carrier Defendants, are responsible for any agents working on their

behalf. (App. 035; R. Doc. 27, ¶ 70.) Thus, hiring, and supervising agents who

follow the regulations is a condition of participation as an MA Organization. Yet,

even if a total lack of oversight somehow is deemed to meet the Carrier

Defendants’ supervisory obligations, they continued collecting on MA Plans sold

by MMA, even after receiving complete information about MMA’s illegal



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activities. (App. 098; R. Doc. 27, ¶¶ 366-68.) This fact weighs heavily in favor of

materiality.

      This Court’s discussion in Miller also demonstrates the materiality of

fraudulently inducing the government to pay money according to a government

program. There, the program was designed to help students, and the school

falsified information to increase eligibility and, therefore, federal funds received.

Miller, 840 F.3d at 498-99. Liability for the specific claims for payment attached

“so long as the original contract was obtained through false statements or

fraudulent conduct.” Id. at 504 (quoting Baycol, 732 F.3d at 875-76). Here, the

Carrier Defendants’ false certifications allowed them to receive federal funds, and

MMA’s false implied certifications—omitting material information about its

violations of Medicare rules and regulations—allowed MMA to receive

commissions. Thus, as the Court noted in Miller, fraudulent inducement tainted all

of the transactions.

      Another key point from Miller is that harm is not an element of materiality

under the FCA. Id. at 505. The district court was concerned that no one ineligible

for Medicare was given benefits. (Add. 15; App. 424; R. Doc. 101 at 15.) First, it is

unclear whether that is true. But second, whether a beneficiary was eligible for

Medicare or not is only the first of several government concerns. The law here

does not ask whether the government was providing services that it typically



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provides, but whether the Defendants’ fraud materially influenced the

government’s decision to enter into contracts with the Defendants. Miller, 840

F.3d at 505; see also United States v. Care Alternatives, No. 22-1035, 2023 WL

5494333, at *5 (3d Cir. Aug. 25, 2023) (explaining that materiality is determined

by examining the importance of the Defendants’ violations, not by examining the

services provided).

      Since Miller, several other cases have held that various defendants’ fraud on

the government could be deemed material in the context of the FCA or a similar

inquiry. See, e.g., Care Alternatives, 2023 WL 5494333, at *6; United States v.

Strock, 982 F.3d 51, 65 (2d Cir. 2020); Campbell v. Transgenomic, Inc., 916 F.3d

1121, 1125-26 (8th Cir. 2019); United States ex rel. USN4U, LLC v. Wolf Creek

Fed. Servs., Inc., 34 F.4th 507, 516 (6th Cir. 2022); Prather, 892 F.3d at 836-37.

Further, the Ninth Circuit’s decision in Hendow, which preceded Miller, is on point

in holding that FCA violations were material. See Hendow, 461 F.3d at 1177.

      In Campbell, this Court found materiality in the context of alleged securities

fraud. Though the case did not involve the FCA, the claim required a similar

analysis, and this Court relied in part on Escobar. See Campbell, 916 F.3d at 1125

(citing Escobar, 136 S. Ct. at 2000 & n.3). In Campbell, the Court reversed the

district court’s dismissal of the complaint, holding that there was a question of fact

as to whether a reasonable investor would have attached importance to missing



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information—in other words, whether that missing information was material. Id.

at 1125-26. This Court should likewise let the jury decide whether these

Defendants’ fraud was material to the government in deciding whether to allow

Defendants’ participation in Medicare Advantage.

      B.      Materiality, under Escobar, is met in this case.

      The three factors discussed in Escobar for determining materiality are:

      • Whether the requirement was an express condition of payment, Strock,

           982 F.3d at 62 (citing Escobar, 136 S. Ct. at 2003);

      • The government’s response to similar misrepresentations, id.; and

      • Whether noncompliance was minor or insubstantial. Id. at 63 (citing

           Escobar, 136 S. Ct. at 2003).

      On the first element, compliance with Medicare regulations was a clearly

stated condition for the Carrier Defendants to become MA Organizations—thereby

allowing them to receive federal funds. (App. 083-84; R. Doc. 27, ¶¶ 272-78.)

Citing only a district court case from Hawaii, the district court took an extremely

narrow view of this element, stating that the Medicare regulations do not expressly

make compliance a condition of payment. (Add. 13; App. 422; R. Doc. 101 at 13,

citing Haw. ex rel. Torricer v. Liberty Dialysis-Haw. LLC, 512 F. Supp. 3d 1096,

1122 (D. Haw. 2021).) That analysis ignores the clear purpose of requiring MA




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Organizations to certify that they will follow the rules to participate in the

program.8

       Other cases have taken a more pragmatic approach to the first Escobar

element. For instance, the Strock court rejected placing too much emphasis on

whether conditions were tied directly to payment, stating that “where a

misrepresentation relates to a condition of eligibility, examining only the express

conditions of ultimate payment will obscure the true materiality of a requirement.”

Strock, 982 F.3d at 62. Thus, where compliance with particular regulations was a

condition of eligibility, that factor “weighs in favor of a finding of materiality.” Id.

See also Prather, 892 F.3d at 832 (where physician’s certification was requirement

under Medicare Parts A and B, failure to provide proper certifications was

material); Care Alternatives, 2023 WL 5494333, at *4 (hospice providers had to

produce certain documentation to bill CMS, so missing documents were material);

Hendow, 461 F.3d at 1173 (holding that the applicable regulations “demonstrate

that compliance with the incentive compensation ban is a necessary condition of

continued eligibility and participation,” thus supporting a finding of materiality).




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  The purpose of the regulations requiring proper certification is evident from
MMA’s conduct. Relator Holt alleges that part of MMA’s scheme was ensuring
that its agents did not know the rules. (App. 040; R. Doc. 27, ¶ 95.) This allowed
MMA to coerce its agents into various improper means of selling MA Plans, as
outlined in the Complaint.

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      The second element—the government’s reaction—should be considered

neutral where, as here, the Defendants’ fraud hid their violations of the Medicare

Advantage regulations from the government. See Prather, 892 F.3d at 834 (holding

that “it would be illogical to require a relator (or the United States) to plead

allegations about past government action in order to survive a motion to dismiss

when such allegations are relevant, but not dispositive”) (citing Escobar, 136 S. Ct.

at 2003). Further, because the complaint is construed in the light most favorable to

the plaintiff, courts should not infer the absence of government action simply

because past government action is not described in the complaint. Id. Similarly, the

government’s failure to intervene is immaterial. Id. at 836. See also Miller, 840

F.3d at 499 (noting that the government had declined to intervene in a case where

this Court reversed the grant of summary judgment).

      The district court relied heavily on the government’s supposed inaction,

(Add. 13; R. Doc. 101 at 13), but the absence of allegations about government

action does not indicate that the government does not care about MA

Organizations ignoring rules that they have promised to follow.

      Finally, the third element, whether the Defendants’ noncompliance was

substantial, weighs heavily for materiality. Strock, 982 F.3d at 65 (citing Escobar,

136 S. Ct. at 2003). In Strock, the Second Circuit rejected the district court’s

reasoning, which deemed the violations to be non-substantial because they did not



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directly influence the payment decision. Rather, the issue in assessing a fraudulent

inducement theory is whether the violations were substantial in the context of “the

government’s decision to award the relevant contracts or ultimately pay out under

those contracts.” Id. Ultimately, because following the rules was a condition of

program eligibility, and because the defendants’ violations were substantial to the

government’s decision to award the contract, the defendants’ alleged violations

were held to be material. Id.

      The same is true here. As detailed extensively in the Statement of Facts and

in the Complaint as a whole, MMA, working on behalf of the Carrier Defendants,

flouted the agent certification rules, and then violated virtually the entire marketing

regulatory scheme to sign up more beneficiaries and increase profits for itself and

the Carrier Defendants. MMA cheated to get agents certified, and then trained

agents (who had no contrary frame of reference from having been properly

certified) to violate rules regarding door knocking, cold calls, the use of lead cards,

switching beneficiaries to new plans, and others. Relator Holt alleges that this

widespread fraud led to MMA receiving more than $100 million in commissions

since joining the program and the Carrier Defendants (collectively) making nine-

figure profits from the state of Missouri alone in a single year. (App. 041, 076; R.

Doc. 27, ¶¶ 102, 237.) The alleged fraud was clearly substantial, or at the very least

sufficiently alleged to be substantial. Cf. Miller, 840 F.3d at 504-05 (reversing



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summary judgment while viewing the materiality issue in the light most favorable

to the government).

      Care Alternatives is also instructive on the issues of substantiality and,

therefore, materiality. The Third Circuit first rejected the argument that the

violations were non-substantial because every hospice patient treated received

“good, compassionate care.” Care Alternatives, 2023 WL 5494333, at *5. Instead

of focusing on the services given, the court focused on whether the defendant’s

violations—i.e., certifying patients for the program without sufficient

documentation—were material to participation in the program. Id. Then, the court

explained that it was “not a case about occasional noncompliance.” Id. at *6.

Instead, there was “significant evidence in the record ... that Care Alternatives had

longstanding problems with maintaining necessary and proper documentation.” Id.

Here, Relator Holt also has alleged continual noncompliance with the applicable

rules, in myriad ways.

      The constant nature of the Defendants’ violations, as well as their significant

financial impact, shows that they were substantial. Relator Holt has, therefore,

stated a valid claim under the FCA. The complaint properly alleges all four

elements outlined in Miller.




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VI.   Alternatively, the Court should allow Relator Holt to amend her
      pleading.

      If the Court agrees that Relator Holt validly stated a claim, then it need not

address the issue of repleading. But the district court also erred in denying her

alternative request to file an amended complaint. (App. 471-72; R. Doc. 109 at 3-

4.) This Court “review[s] the denial of leave to amend for abuse of discretion and

questions of futility de novo.” United States ex rel. Roop v. Hypoguard USA, Inc.,

559 F.3d 818, 822 (8th Cir. 2009). The district court’s decision was based on

futility, so that aspect should be reviewed de novo.

      The district court should have given Relator Holt the opportunity to fix the

purported deficiencies in her complaint. See, e.g., United States ex rel. Brooks v.

Stevens-Henager Coll., 305 F. Supp. 3d 1279 (D. Utah 2018) (permitting plaintiff

to replead, rather than dismissing FCA claim with prejudice). Instead, the court

simply held that “[a]ll claims against all Defendants are DISMISSED WITH

PREJUDICE.” (Add. 7; App. 426; R. Doc. 101 at 17.) This was an error. Cf. Sentis

Group, Inc. v. Shell Oil Co., 559 F.3d 888, 901 (8th Cir. 2009) (dismissal with

prejudice is a “draconian sanction”); Martin v. Safe Haven Sec. Servs., Inc., 19-

00063, 2020 WL 13538608, at *2 (W.D. Mo. May 14, 2020) (“Dismissals with

prejudice are drastic and extremely harsh sanction[s].”) (citations and quotations

omitted). In denying the Rule 59(e) motion, the court stated that amendment would




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be futile regardless of any new allegations because of the court’s ruling as to

materiality. (App. 471-72; R. Doc. 109 at 3-4.)

      If the Court agrees with the district court that some aspect of the fraudulent

inducement claim was inadequately pleaded, but also agrees with Relator Holt that

the alleged violations were plausibly material, then the Court should reverse and

remand the case to allow Relator Holt to replead.

                                  CONCLUSION

      For all of the foregoing reasons, the district court erred in granting the

Defendants’ motions to dismiss. This Court should reverse the district court’s

decision and remand the case for discovery and, eventually, trial. Alternatively,

this Court should at least reverse the district court’s decision dismissing the case

with prejudice and remand the case with instructions to permit Relator Holt to file

an amended complaint to address whatever deficiencies this Court identifies.

                          Respectfully submitted,

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                      CERTIFICATE OF COMPLIANCE

      This brief complies with the type-volume limitations of Federal Rule of

Appellate Procedure 32(a). This brief contains 11,330 words, excluding the parts

of the brief exempted by Federal Rule of Appellate Procedure 32(f). This brief

complies with the typeface requirements of Federal Rule of Appellate Procedure

32(a)(5) and the type-style requirements of Federal Rule of Appellate Procedure

32(a)(6). This brief has been prepared in a proportionally spaced typeface using

Microsoft Word 2016 in fourteen (14) point Times New Roman font.

Dated: September 22, 2023


                                        /s/ Kara A. Elgersma
                                        Kara A. Elgersma
                                        One of the Attorneys for Appellant




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                   CIRCUIT RULE 28A(h) CERTIFICATION
      The undersigned hereby certifies that I have filed electronically, pursuant to

Circuit Rule 28A(h), a version of the brief in non-scanned PDF format. I hereby

certify that the file has been scanned for viruses and that it is virus-free.




                                          /s/ Kara A. Elgersma
                                          Kara A. Elgersma




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                         CERTIFICATE OF SERVICE
      The undersigned hereby certifies that on September 22, 2023, an electronic

copy of the Brief of Appellant Elizabeth D. Holt was filed with the Clerk of the

Court for the United States Court of Appeals for the Eighth Circuit by using the

CM/ECF system. The undersigned also certifies that all participants in this case

are registered CM/ECF users and that service of the Brief will be accomplished by

the CM/ECF system.




                                             /s/ Kara A. Elgersma
                                             Kara A. Elgersma




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